Case 2:15-cv-00484-DBH Document 139 Filed 09/14/18 Page 1 of 4                   PageID #: 551



                             UNITED STATES FEDERAL COURT
                                  DISTRICT OF MAINE


DAVID E. MURRAY,                                      )
                                                      )
                                Plaintiff,            )
                                                      )
       v.                                             )    Case No. 2:15-CV-00484-DBH
                                                      )
WAL-MART STORES, INC. and                             )
WAL-MART STORES EAST, L.P.                            )
                                                      )
                                Defendants.           )

            DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION FOR
            PROECTION ORDER AND PLAINTIFF’S OBJECTIONS FROM
            DEFENDANTS’ NOTICE OF DEPOSITION OF PLAINTIFF AND
             MOTION FOR LEAVE TO TAKE MURRAY’S DEPOSITION


       Defendants, Wal-Mart Stores, Inc. and Wal-Mart Stores East, L.P. (hereinafter “Wal-

Mart), by and through undersigned counsel, hereby responds to Plaintiff’s Motion for Protection

Order and Plaintiff’s Objections from Defendants’ Notice of Deposition of Plaintiff, and in

support thereof states as follows:

       1.      Through counsel, Murray filed his initial Complaint in this matter on August 26,

2015. (ECF No. 1-1)

       2.      The original discovery deadline in this matter was June 10, 2016. (ECF No. 12)

       3.      Murray’s deposition was taken on June 23, 2016.

       4.      Through counsel, Murray initiated discovery for the first time on May 31, 2016.

       5.      Over the objection of Wal-Mart, Murray was allowed to proceed with discovery,

and the discovery deadline was extended to permit Wal-Mart time to respond to Murray’s

extensive discovery requests.
Case 2:15-cv-00484-DBH Document 139 Filed 09/14/18 Page 2 of 4                     PageID #: 552



       6.      Since that time, Wal-Mart has produced 28,598 pages of documents in response to

Murray’s discovery requests.

       7.      On November 11, 2016, through counsel, Murray amended his Complaint to

allege claims relating to the termination of his employment, of which he was notified in early

October 2016. (ECF No. 34)

       8.      On September 29, 2017, through counsel, Murray moved to amend his Complaint

again to allege a wage payment claim under Maine law, 26 M.R.S.A. § 626. (ECF No. 85)

       9.      This Court granted Murray’s motion to amend to add his wage payment claim on

August 24, 2018 and instructed Murray to file the Amended Complaint, which Murray has not

filed. (ECF No. 128)

       10.     This Court also instructed the parties to complete written discovery by September

21, 2018 and all discovery by September 28, 2018.

       11.     In order to discover the basis of Murray’s claims in the proposed Second

Amended Complaint, Wal-Mart initiated written discovery and also sought to take Murray’s

deposition.

       12.     Subsequent to Wal-Mart’s discovery initiatives, Murray filed a motion to that in

effect seeks further amend his Complaint.

       13.     Murray’s pro se status does not permit him to avoid responding to legitimate and

reasonable discovery requests, including the taking of his deposition with respect to new claims.

When Wal-Mart noticed his deposition, Wal-Mart intended to question him with respect to his

new allegations regarding the payment of wages.

       14.     If this Court determines that leave is required to take Murray’s deposition with

respect to the new allegations in the proposed Second Amended Complaint, Wal-Mart seeks such



                                                2
Case 2:15-cv-00484-DBH Document 139 Filed 09/14/18 Page 3 of 4                     PageID #: 553



leave given the fact that Murray was deposed over two years ago, prior to his termination, prior

to his June 2017 demand for wages, and prior to the September 2017 motion to amend his

Complaint to allege a wage claim.

       15.      If this Court permits Murray to amend his Complaint further, Wal-Mart seeks

leave to take Murray’s deposition with respect to any and all additional claims that he is

permitted to make.

       WHEREFORE, Wal-Mart respectfully requests:

       a.       This Court deny Murray’s Motion for Protection Order seeking to avoid the

       taking of his deposition and overrule his objections to the taking of his deposition;

       b.       Grant leave to Wal-Mart to take Murray’s deposition with respect to the proposed

       Second Amended Complaint, if that proposed Second Amended Complaint is actually

       filed;

       c.       Grant Wal-Mart leave to take Murray’s deposition with respect to any and all new

       allegations that he is permitted to make in any Second Amended Complaint; and

       d.       Grant such other relief as this Court deems just and equitable.


       DATED this 14th day of September, 2018.


                                                      /s/ Ronald W. Schneider, Jr.
                                                      Ronald W. Schneider, Jr.
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                                                      Inc. and Wal-Mart Stores East, L.P.

                                                 3
Case 2:15-cv-00484-DBH Document 139 Filed 09/14/18 Page 4 of 4                 PageID #: 554



                              CERTIFICATE OF SERVICE

       I hereby certify that on the date indicated below the foregoing document was filed

electronically with the Clerk of Court, and a copy was served via U.S. First Class Mail and e-

mail to the following:

                                 David E. Murray
                                  16 Trail Road
                                 Casco, ME 04015
                               demurr11@gmail.com



Dated: September 14, 2018                         /s/ Ronald W. Schneider, Jr.
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